855 F.2d 762
    The STEWART ORGANIZATION, INC., a corporation;  Walter H.Stewart, and James S. Snow, Jr., Plaintiffs-Appellees,v.RICOH CORPORATION, a corporation, Ricoh of America, Inc., acorporation, Defendants-Appellants.
    No. 85-7231.
    United States Court of Appeals,Eleventh Circuit.
    Sept. 20, 1988.
    
      Ralph H. Yeilding, Bradley, Arant, Rose &amp; White, Scott M. Phelps, Birmingham, Ala., for defendants-appellants.
      Joseph W. Letzer, Janet L. Humphreys, F.A. Flowers, III, Burr &amp; Forman, Birmingham, Ala., for plaintiffs-appellees.
      Appeal from the United States District Court for the Northern District of Alabama;  William M. Acker, Jr., Judge.
      ON REMAND FROM THE SUPREME COURT OF THE UNITED STATES
      Before RONEY, Chief Judge, TJOFLAT, HILL, FAY, VANCE, KRAVITCH, JOHNSON, HATCHETT, ANDERSON, CLARK, EDMONDSON, COX, Circuit Judges, TUTTLE and GODBOLD, Senior Circuit Judges.
      PER CURIAM:
    
    
      1
      Stewart Organization, Inc., an Alabama corporation, filed suit in the United States District Court for the Northern District of Alabama against Ricoh Corporation, alleging that it had breached a dealership agreement between the two.  The agreement's forum-selection clause provided that any contractual dispute be brought only in a court located in Manhattan, New York City, New York.  Ricoh moved the district court to either transfer the case to the Southern District of New York, pursuant to 28 U.S.C.A. Sec. 1404(a), or dismiss the suit for improper venue pursuant to 28 U.S.C.A. Sec. 1406.  The district court denied the motion.
    
    
      2
      A divided panel of this Court reversed the district court, and remanded the case with instructions to the district court to transfer the case to the appropriate Manhattan court.   Stewart Org., Inc. v. Ricoh Corp., 779 F.2d 643 (11th Cir.1986).  Rehearing in banc was granted and the panel opinion was vacated.  785 F.2d 896 (1986).  The in banc Court reversed the district court and remanded with instructions to transfer this action to an appropriate court in the Borough of Manhattan in the City of New York.  810 F.2d 1066, 1071 (1987).
    
    
      3
      The Supreme Court of the United States granted certiorari, Stewart Org., Inc. v. Ricoh Corp., --- U.S. ----, 108 S.Ct. 225, 98 L.Ed.2d 184 (1987), and affirmed "the Eleventh Circuit order reversing the district court's application of Alabama law."    Stewart Org., Inc. v. Ricoh Corp., --- U.S. ----, ----, 108 S.Ct. 2239, 2245-2246, 101 L.Ed.2d 22 (1988).  The Supreme Court remanded the case "so that the District Court may determine in the first instance the appropriate effect under federal law of the parties' forum-selection clause on respondent's section 1404(a) motion."    Id.
    
    
      4
      This case is hereby remanded to the United States District Court for the Northern District of Alabama for further proceedings in keeping with the decision of the Supreme Court.
    
    
      5
      REVERSED and REMANDED.
    
    
      6
      Opinion on remand, D.C., 696 F.Supp. 583.
    
    